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MIED (Rev. 03/2022) Notice of Reciprocal Suspension




                                                 UNITED STATES DISTRICT COURT
                                                 EASTERN DISTRICT OF MICHIGAN




In Re                                                                Case No. 2:22−mc−50350−SFC

Todd A. Courser,                                                     Hon. Sean F. Cox




              NOTICE OF RECIPROCAL SUSPENSION FOR NON−PAYMENT OF DUES

   This Court is in receipt of a notice from the State Bar of Michigan that in accordance with
Rule 4 of the Supreme Court Rules, the above attorney was administratively suspended for
non−payment of dues, effective 02/15/22.

     Federal Local Rule 83.22(g)(4) states that:

    "An attorney who is suspended for nonpayment of dues to the State Bar of Michigan or any
other bar association on which the attorney's admission to practice in this court may be based
will be automatically suspended in this court without any action by the Court other than written
notice to the attorney. On receipt of notice that the attorney has been reinstated for payment
of dues and penalties and payment of the Court's attorney renewal fee, the attorney will be
automatically reinstated in this court."

  Accordingly, the above attorney is hereby suspended in the United States District and
Bankruptcy Courts for the Eastern District of Michigan.

   If the above attorney is reinstated for payment of dues and penalties by the State Bar of
Michigan and seeks reinstatement in this Court, an affidavit with proof of reinstatement and
the attorney renewal fee must be submitted electronically on the Court's website,
https://www.mied.uscourts.gov/index.cfm?pagefunction=reinstatement. The above
miscellaneous case number must be included on the reinstatement affidavit.

Dated: March 15, 2022



                                                      Certificate of Service

   I hereby certify that on this date a copy of the foregoing notice was served upon the parties
and/or counsel of record by electronic means or first class U.S. mail.

                                                                 KINIKIA D. ESSIX, CLERK OF COURT


                                                             By: s/D. Peruski
                                                                 Deputy Clerk
